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                            UNITED STATES DISTWCT COURT
                             DISTRICT OF NEW HAMPSHIRE                           ig F«ssw




UNITED STATES OF AMERICA                                                 ^23 P b! 09
               V.                                                       MiOEPOSITORY
DARREN B.STRATTON



                                     PLEA AGREEMENT


       Pursuant to Rule 11(c)(1)(B)ofthe Federal Rules ofCriminal Procedure,the United States

of America, by Scott W.Murray, United States Attorney for the District of New Hampshire,and

Assistant U.S. Attorney John S. Davis, and the defendant, Darren B. Stratton, and the defendant's

attorney, Tyler Pentoliros, Esquire, enter into the following Plea Agreement:

       1. The Plea and The Offense.

       The defendant agrees to waive his right to have this matter presented to a grand jury and

plead guilty to an Information charging him with Conspiracy, in violation of Title 18, United

States Code, Section 371.

       In exchange for the defendant's guilty plea, the United States agrees to the sentencing

stipulations identified in Section 6 ofthis agreement.

       2. The Statute and Elements ofthe Offense.

       Title 18, United States Code, Section 371, provides, in pertinent part:

       Iftwo or more persons conspire...to commit any offense against the United States... and
       one or more ofsuch persons do any act to effect the object ofthe conspiracy, each shall be
       fined under this title or imprisoned not more than five years, or both.

18U.S.C.§371.

       The defendant understands that the offense has the following elements, each of which the


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United States would be required to prove beyond a reasonable doubt at trial:

       First, that the agreement specified in the indictment, and not some other agreement or
agreements, existed between at least two people to unlawfully traffic in prescription
animal drugs;

       Second, that the defendant willfully joined in that agreement; and


       Third, that one of the conspirators committed an overt act during the period of the
conspiracy in an effort to further the purpose of the conspiracy.

[Pattern Criminal Jury Instructionsfor the District Courts ofthe First Circuit, District ofMaine
Internet Site Edition, 2017 Revisions, Instruction 4.18.371(1),
http://www.med.uscourts.gOv/pdf/crpiilinks.pdf.1

       3. Offense Conduct.


       The defendant stipulates and agrees that if this case proceeded to trial, the government

would introduce evidence of the following facts, which would prove the elements of the offense

beyond a reasonable doubt:

       From at least in or about at least January 2017 through at least in or about September 2017

(the "relevant time period"). Horsemen's Tack, Inc., was located at 3 Puzzle Lane, Unit 3,Newton,

NH. The defendant, Darren B. Stratton ("Stratton"), was employed by Horsemen's Tack and

worked out of the Newton location. Among the products Stratton sold to certain customers were

equine drugs that were sold without a required prescription. Another Horsemen's Tack

employee,DM,worked as a traveling salesman for the company,and developed a list ofcustomers

for the prescription animal drugs. Stratton and Horseman's Tack sold prescription animal drugs to

these customers in a manner that defrauded and misled the company's drug suppliers, federal and

state regulators, and the general public.

       Although the website for Horsemen's Tack indicated that the business had a "vet on call,"



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in fact there was no vet on call. Horsemen's Tack had a long-standing relationship with Dr. AB,a

veterinarian licensed in New Hampshire. Stratton regularly used Dr. AB's name and veterinary

license to order various prescription animal drugs from mail-order pharmacies. In those

instances, Dr. AB,who never visited the Newton store, did not examine horses or meet with horse

owners, and provided no actual veterinary services. Both Stratton and DM,the traveling

salesman who worked for Horsemen's Tack, knew that Dr. AB provided no actual veterinary

services to Horsemen's Tack, and that Horsemen's Tack was using Dr. AB's name and license to

purchase prescription drugs for resale to customers without prescriptions.

       Stratton and Horsemen's Tack marketed, sold, and distributed prescription animal drugs

for performance-enhancement in racehorses, including levothyroxine, estrone, amikacin,

methocarbamol, dexamethasone, tranexamic acid, and erythropoietin/EPO. During the relevant

time period, these prescription animal drugs were not specifically listed for sale on Horsemen's

Tack's website, www.horsemenstackinc.com. Instead, in order to avoid detection by law

enforcement and/or regulators, Stratton and Horsemen's Tack distributed hard-copy pricing lists

for these performance-enhancing prescription drugs only to "trusted customers," who could then

order them from Stratton and Horsemen's Tack without prescriptions.

       During the relevant time period, Stratton and Horsemen's Tack dispensed various

prescription animal drugs to customers without requiring a lawful written or oral order of a

licensed veterinarian in the course of the veterinarian's professional practice, including

levothyroxine, estrone, amikacin, methocarbamol, dexamethasone and tranexamic acid. At the

time of dispensing, these prescription animal drugs, or components thereof, had been previously

shipped in interstate commerce and were being held for sale in New Hampshire by Stratton and


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Horsemen's Tack. Specifically, on or about April 26,2017, June 20,2017,and August 9,2017,

Stratton and Horsemen's Tack dispensed to customer E.M.the prescription animal drug

levothyroxine without a lawfiil written or oral order of a licensed veterinarian in the course ofthe

veterinarian's professional practice, which is an act deemed to misbrand the drug while held for

sale pursuant to 21 U.S.C. § 353(f)(1)(C).

       Although most ofthe drugs were sold in person at the Newton store, Stratton shipped some

ofthe drugs to customers via UPS or FedEx. During the relevant time period, Stratton and

Horsemen's Tack shipped to customers located outside ofNew Hampshire various prescription

animal drugs,including levothyroxine, estrone, amikacin, methocarbamol, dexamethasone and

tranexamic acid, whose respective labels did not bear: the required statement "Caution: Federal

law restricts this drug to use by or on the order ofa licensed veterinarian"; the recommended and

usual dosage; and the quantity and proportion ofeach active ingredient. Specifically, on or about

April 26,2017, June 20,2017,and August 9,2017, Stratton and Horsemen's Tack shipped from

New Hampshire to customer E.M.in New York the prescription animal drug levothyroxine with

labels that did not bear the required statement"Caution: Federal law restricts this drug to use by

or on the order ofa licensed veterinarian"; the recommended and usual dosage; and the quantity

and proportion ofeach active ingredient, and thus, the levothyroxine was misbranded within the

meaning of21 U.S.C. § 352(f)(1).

       During the relevant time period, Stratton and Horsemen's Tack also shipped to customers

located outside ofNew Hampshire the prescription animal drug erythropoietin/EPO in entirely

unlabeled bottles. Specifically, on or about July 29,2017,Stratton and Horsemen's Tack shipped

from New Hampshire to customer E.L. in Massachusetts the prescription animal drug


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erythropoietin/EPO in an imlabeled bottle, and thus,the erythropoietin/EPO was misbranded

within the meaning of21 U.S.C. § 352(f)(1).

       On September 20,2017,agents executed a federal search warrant at Horsemen's Tack at 3

Puzzle Lane,Unit 3,Newton,New Hampshire. Among the items recovered were a customer list,

prescription drugs,and numerous vials with labels printed on-site. On the same day,Stratton was

interviewed, and admitted that Horsemen's Tack sold prescription drugs to horse owners and

trainers without obtaining prescriptions from those customers.

       4. Penalties. Special Assessment and Restitution.

       The defendant understands that the penalties for the offense are:

       A.      A maximum prison term of5 years(18 U.S.C. § 371);

       B.      A maximum fine of$250,000(18 U.S.C. § 3571);

       C.      A term of supervised release ofnot more than 3 years(18 U.S.C. § 3583).
               The defendant understands that the defendant's failure to comply with any
               ofthe conditions ofsupervised release may result in revocation of
               supervised release, requiring the defendant to serve in prison all or part of
               the term of supervised release, with no credit for time already spent on
               supervised release; and

       D.      A mandatory special assessment of$100 for each count of conviction, at or before
               the time ofsentencing(18 U.S.C. § 3013(a)(2)(A)).

       In addition to the other penalties provided by law,the Court may order him to pay

restitution to the victim(s) ofthe offense(18 U.S.C. § 3663 or § 3663A).

       5. Sentencing and Application ofthe Sentencing Guidelines.


       The defendant understands that the Sentencing Reform Act of 1984 applies in this case and

that the Court is required to consider the United States Sentencing Guidelines as advisory

guidelines. The defendant further understands that he has no right to withdraw from this Plea


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Agreement ifthe applicable advisory guideline range or his sentence is other than he anticipated.

       The defendant also understands that the United States and the United States Probation

Office shall:

       A.       Advise the Court ofany additional, relevant facts that are presently known
                or may subsequently come to their attention;

       B.       Respond to questions from the Court;

       C.       Correct any inaccuracies in the pre-sentence report;

       D.       Respond to any statements made by him or his counsel to a probation
                officer or to the Court.


       The defendant understands that the United States and the Probation Office may address the

Court with respect to an appropriate sentence to be imposed in this case.

       The defendant acknowledges that any estimate ofthe probable sentence or the probable

sentencing range under the advisory Sentencing Guidelines that he may have received from any

source is only a prediction and not a promise as to the actual sentencing range under the advisory

Sentencing Guidelines that the Court will adopt.

       6. Sentencing Stipulations and Agreements.

       Pursuant to Fed. R. Crim. 11(c)(1)(B), the United States and the defendant stipulate and

agree to the following:

                (a)    U.S.S.G. § 2B1.1 is the applicable offense guideline;

                (b)    The loss amount applicable to defendant Stratton, based on the amount

                       Horsemen's Tack paid for prescription drugs during the period January 1,

                       2017,to September 20,2017,is $84,772;

                (c)    The adjustment in U.S.S.G. § 2B1.1(b)(2)does not apply;
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              (d)      The aggravating role adjustment in U.S.S.G. § 3B1.1 does not apply;

               (e)     The government will recommend that defendant Stratton be sentenced at

                       the low end ofthe applicable guideline range as determined by the Court;

                       and


               (f)    If defendant's sentencing range is within Zone B ofthe Sentencing Table,

                      the government will recommend that the minimum term be satisfied by a

                       sentence of probation that includes a condition that substitutes home

                       detention for imprisonment pursuant to U.S.S.G. § 5C1.1(c)(3).

       The defendant understands that the Court is not boxmd by the foregoing agreements and,

with the aid ofa pre-sentence report, the court will determine the facts relevant to sentencing.

The defendant also understands that ifthe Court does not accept any or all ofthose agreements,

such rejection by the Court will not be a basis for the defendant to withdraw his guilty plea.

       The defendant understands and agrees that the United States may argue that other

sentencing enhancements should be applied in determining the advisory guideline range in this

case, and he is permitted to object to them.

       The United States and the defendant are free to make recommendations with respect to the

terms ofimprisonment,fines, conditions of probation or supervised release, and any other

penalties, requirements, and conditions ofsentencing as each party may deem lawfiil and

appropriate, unless such recommendations are inconsistent with the terms ofthis Plea Agreement.

       7. Acceptance of Responsibility.


       The United States agrees that it will not oppose an appropriate reduction in the defendant's

adjusted offense level, under the advisory Sentencing Guidelines, based upon the defendant's


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apparent prompt recognition and affirmative acceptance of personal responsibility for the offense.

The United States, however, may oppose any adjustment for acceptance ofresponsibility ifthe

defendant:


       A.      Fails to admit a complete factual basis for the plea at the time he is
               sentenced or at any other time;

       B.       Challenges the United States' offer of proof at any time after the plea is
               entered;

       C.      Denies involvement in the offense;

       D.       Gives conflicting statements about that involvement or is untruthfiil with
               the Court,the United States or the Probation Office;

       E.      Fails to give complete and accurate information about his financial status to
               the Probation Office;

       F.       Obstructs or attempts to obstruct justice, prior to sentencing;

       G.      Has engaged in conduct prior to signing this Plea Agreement which
               reasonably could be viewed as obstruction or an attempt to obstructjustice,
               and has failed to fully disclose such conduct to the United States prior to
               signing this Plea Agreement;

       H.      Fails to appear in court as required;

       I.      After signing this Plea Agreement,engages in additional criminal conduct;
               or



       J.      Attempts to withdraw his guilty plea.

       The defendant understands and agrees that he may not withdraw his guilty plea if, for any

ofthe reasons listed above,the United States does not recommend that he receive a reduction in his

sentence for acceptance ofresponsibility.

       The defendant also understands and agrees that the Court is not required to reduce the

offense level ifit finds that he has not accepted responsibility.


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        Ifthe defendant's offense level is sixteen or greater,and he has assisted the United States in

the investigation or prosecution ofhis own misconduct by timely notifying the United States ofhis

intention to enter a plea of guilty, thereby permitting the United States to avoid preparing for trial

and permitting the United States and the Court to allocate their resources efficiently, the United

States will move,at or before sentencing, to decrease the defendant's base offense level by an

additional one level pursuant to U.S.S.G. § 3El.l(b).

        8. Waiver of Trial Rights and Consequences ofPlea.

        The defendant understands that he has the right to be represented by an attorney at every

stage ofthe proceeding and,if necessary, one will be appointed to represent him. The defendant

also understands that he has the right:

        A.      To plead not guilty or to maintain that plea if it has already been made;

        B.      To be tried by ajury and, at that trial, to the assistance of counsel;

        C.      To confront and cross-examine witnesses;

        D.      Not to be compelled to provide testimony that may incriminate him; and

        E.      To compulsory process for the attendance of witnesses to testify in his
                defense.


        The defendant understands and agrees that by pleading guilty he waives and gives up the

foregoing rights and that upon the Court's acceptance ofthe his guilty plea, he will not be entitled

to a trial.

        The defendant understands that if he pleads guilty, the Court may ask him questions about

the offense,and if he answers those questions falsely under oath,on the record,and in the presence

of counsel, his answers will be used against him in a prosecution for peijury or making false

statements.


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        9. Acknowledgment of Guilt: Voluntariness ofPlea.


        The defendant understands and acknowledges that he:

        A.      Is entering into this Plea Agreement and is pleading guilty freely and voluntarily because
                he is guilty;

        B.      Is entering into this Plea Agreement without reliance upon any promise or benefit of any
                kind except as set forth in this Plea Agreement or revealed to the Court;

        C.      Is entering into this Plea Agreement without threats, force, intimidation, or coercion;

        D.      Understands the nature ofthe offense to which he is pleading guilty,
                including the penalties provided by law; and

        E.      Is completely satisfied with the representation and advice received from his
                undersigned attomey.

        10. Scope of Agreement.

        The defendant acknowledges and understands that this Plea Agreement binds only the

undersigned parties and cannot bind any other non-party federal, state or local authority. The

defendant also acknowledges that no representations have been made to him about any civil or

administrative consequences that may result from his guilty plea. The defendant understands such

matters are solely within the discretion ofthe specific non-party government agency involved. The

defendant further acknowledges that this Plea Agreement has been reached without regard to any

civil tax matters that may be pending or which may arise involving the defendant.

        11. Collateral Consequences.

        The defendant understands that as a consequence of his guilty plea he will be adjudicated

guilty and may thereby be deprived ofcertain federal benefits and certain rights, such as the right

to vote, to hold public office, to serve on a Jury, or to possess firearms.

       The defendant understands that, if he is not a citizen ofthe United States, his guilty plea to


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the charged offense will likely result in him being subject to immigration proceedings and

removed from the United States by making him deportable,excludable,or inadmissible, or ending

his naturalization. The defendant understands that the immigration consequences ofthis plea will

be imposed in a separate proceeding before the immigration authorities. The defendant wants and

agrees to plead guilty to the charged offense regardless ofany immigration consequences ofthis

plea, even ifthis plea will cause his removal from the United States. The defendant understands

that he is bound by his guilty plea regardless ofany immigration consequences ofthe plea.

Accordingly,the defendant waives any and all challenges to his guilty plea and to his sentence

based on any immigration consequences, and agrees not to seek to withdraw his guilty plea, or to

file a direct appeal or any kind ofcollateral attack challenging his guilty plea, conviction, or

sentence, based on any immigration consequences of his guilty plea.

        12. Satisfaction of Federal Criminal Liability: Breach.

       The defendant's guilty plea, if accepted by the Court, will satisfy his federal criminal

liability in the District of New Hampshire arising from his participation in the conduct that forms

the basis ofthe information in this case. The defendant understands that if, before sentencing, he

violates any term or condition ofthis Plea Agreement,engages in any criminal activity, or fails to

appear for sentencing, the United States may consider such conduct to be a breach ofthe Plea

Agreement and may withdraw therefrom.

        13. Waivers.


        A. Appeal.

       The defendant understands that he has the right to challenge his guilty plea and/or sentence

on direct appeal. By entering into this Plea Agreement the defendant knowingly and voluntarily


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waives his right to challenge on direct appeal:

        1.      His guilty plea and any other aspect ofhis conviction, including, but not
                limited to, adverse rulings on pretrial suppression motion(s)or any other
                adverse disposition of pretrial motions or issues, or claims challenging the
                constitutionality ofthe statute of conviction; and

       2.       The sentence imposed by the Court ifit is within, or lower than, the
                guideline range determined by the Court, or if it is imposed pursuant to a
                minimiun mandatory sentence.

       The defendant's waiver of his rights does not operate to waive an appeal based upon new

legal principles enunciated in Supreme Court or First Circuit case law after the date ofthis Plea

Agreement that have retroactive effect; or on the ground ofineffective assistance of counsel.

       B. Collateral Review


       The defendant understands that he may have the right to challenge his guilty plea and/or

sentence on collateral review, e.g., a motion pursuant to 28 U.S.C. §§ 2241 or 2255. By entering

into this Plea Agreement,the defendant Imowingly and volimtarily waives his right to collaterally

challenge:

       1.       His guilty plea, except as provided below, and any other aspect of his
                conviction, including, but not limited to, adverse rulings on pretrial
                suppression motion(s) or any other adverse disposition of pretrial motions
                or issues, or claims challenging the constitutionality ofthe statute of
                conviction; and

       2.       The sentence imposed by the Court if it is within, or lower than,the
                guideline range determined by the Court, or if it is imposed pursuant to a
                minimum mandatory sentence.

       The defendant's waiver of his right to collateral review does not operate to waive a

collateral challenge to his guilty plea on the ground that it was involuntary or unknowing,or on the

ground ofineffective assistance ofcounsel. The defendant's waiver ofhis right to collateral review

also does not operate to waive a collateral challenge based on new legal principles enunciated by in

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Supreme Court or First Circuit case law decided after the date ofthis Plea Agreement that have

retroactive effect.


        C. Freedom ofInformation and Privacy Acts

       The defendant hereby waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency ofthe United States any

records pertaining to the investigation or prosecution ofthe case(s) underlying this Plea

Agreement,including without limitation any records that may be sought imder the Freedom of

Information Act,5 U.S.C. §552,or the Privacy Act of 1974,5 U.S.C. §522a.

       D. Appeal by the Government

       Nothing in this Plea Agreement shall operate to waive the rights or obligations ofthe

Government pursuant 18 U.S.C. § 3742(b)to pursue an appeal as authorized by law.

        14. No Other Promises.


       The defendant acknowledges that no other promises, agreements, or conditions have been

entered into other than those set forth in this Plea Agreement or revealed to the Court, and none

will be entered into unless set forth in writing, signed by all parties, and submitted to the Court.

        15. Final Binding Agreement.

       None ofthe terms ofthis Plea Agreement shall be binding on the United States until this

Plea Agreement is signed by the defendant and the defendant's attorney and until it is signed by the

United States Attorney for the District ofNew Hampshire,or an Assistant United States Attorney.

       16.    Agreement Provisions Not Severable.

       The United States and the defendant understand and agree that ifany provision ofthis Plea

Agreement is deemed invalid or unenforceable,then the entire Plea Agreement is null and void


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and no part of it may be enforced.


                                                         SCOTT W. MURRAY
                                                         United States Attorney




Date:
                                                          )hn S. Davis
                                                          assistant United States Attorney
                                                        (Bar Association #592
                                                         53 Pleasant St., 4th Floor
                                                         Concord,NH 03301
                                                         John.davis8@usdoj.gov

       The defendant, Darren B. Stratton, certifies that he has read this 14-page Plea Agreement
and that he fully understands and accepts its terms.


Date:
                                                             Darren B. Stratton, Defendant

        I have read and explained this 14-page Plea Agreement to the defendant, and he has
advised me that he understands and accepts its terms.


Date:
                                                    Tyler Tmoliros, Esquire
                                                    Attomety for Darren B. Stratton




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